Case 9:22-cv-81294-AMC Document 199 Entered on FLSD Docket 12/12/2022 Page 1 of 1


                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                WEST PALM BEACH DIVISION

                               CASE NO. 22-81294-CIV-CANNON

  DONALD J. TRUMP,

          Plaintiff,
  v.

  UNITED STATES OF AMERICA,

          Defendant.
                                       /

                                   ORDER DISMISSING CASE

          THIS CAUSE comes before the Court following the Eleventh Circuit’s opinion vacating

  the Court’s September 5, 2022 Order [ECF No. 64] and instructing the Court to dismiss the

  underlying civil action. See Trump v. United States, No. 22-13005 (11th Cir. Dec. 1, 2022).

  Pursuant to that opinion and the associated mandate, it is hereby

          ORDERED AND ADJUDGED as follows:

          1. This case is DISMISSED FOR LACK OF JURISDICTION.

          2. Any scheduled hearings are CANCELED, any pending motions are DENIED AS

              MOOT, and all deadlines are TERMINATED.

          3. The Clerk of Court shall CLOSE this case.

          DONE AND ORDERED in Chambers at Fort Pierce, Florida this 12th day of December

  2022.

                                                          _________________________________
                                                          AILEEN M. CANNON
                                                          UNITED STATES DISTRICT JUDGE

  cc:     counsel of record
